 7:24-cv-01145-JDA-KFM            Date Filed 07/12/24      Entry Number 36         Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                             SPARTANBURG DIVISION
                              Case Number: 7:24-cv-01145-JDA-KFM

 Terria Holcomb,                               )
                                               )
                                    Plaintiff, )
                                               )
 vs.                                           )
                                               )       CONSENT MOTION TO AMEND
 Spartanburg County, Spartanburg County        )          SCHEDULING ORDER
 Sheriff’s Office, Officer Wesley E. Bennett )
 and Sheriff Chuck Wright,                     )
                                               )
                                 Defendants. )
                                               )


       The Defendants, through their undersigned counsel, with the consent of Plaintiff’s Counsel,

hereby move to amend the Scheduling Order to extend the Court’s previously ordered deadlines.

Discovery in this case remains ongoing and Counsel have spoken and agreed on the dates as set

forth in the Proposed Amended Scheduling Order submitted herewith.



Respectfully submitted,
This 12th day of July, 2024




                                                1
 7:24-cv-01145-JDA-KFM           Date Filed 07/12/24   Entry Number 36   Page 2 of 2




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                                             2
